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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,                               )
                                                        )
                                 Plaintiff;             )
                                                        )
                                                        )   Case No. 21-MJ-400 (RMM)
                       v.                               )
                                                        )
                                                        )
ROMAN STERLINGOV,                                       )
                                                        )
                                 Defendant.             )


                                  NOTICE OF ASSIGNMENT

       The above captioned case has been assigned to the Assistant Federal Public Defender

specified below. Please send all notices and inquiries to this attorney at the address listed.

Respectfully submitted,

                                              A.J. KRAMER
                                              FEDERAL PUBLIC DEFENDER

                                                  /s/

                                              SABRINA SHROFF
                                              Assistant Federal Public Defender
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